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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY

 LUKE ZAMBELLA,                                  Civil Case No.: 15-cv-5483

                       Plaintiff,
 v.

 ALLY FINANCIAL, INC. and DOES 1-10,

                       Defendants.


                                    NOTICE OF SETTLEMENT
       Plainitff Luke Zambella and Defendant Ally Financial, Inc. have reached a settlement in
principle and are currently finalizing the agreement. Plaintiff expects to file a stipulation of
dismissal within 45 days. Accordingly, Plaintiff respectfully requests that the Court strike all
pending dates and deadlines.


 Dated: February 18, 2016
                                                 /s/ Jeremy M. Glapion__________
                                                 Jeremy M. Glapion
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